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EXHIBIT A
Feed                                      503(b)(9) Payments
 Aden Brook Trading Corp                              802,625
 Amalgamated Sugar                                      1,309
 American Calf Products                               194,333
 Carne I Corp.                                        144,069
 J.D. Heiskell & Co.                                  113,922
 Land View, Inc-Livestock- Animal Care              1,095,639
 MicroProteins, Inc.                                    7,074
 Receptor Food Group                                  114,172
 Viterra USA Grain, LLC                             1,943,287
 WAG Services Inc                                         685

Vet/Med
 MWI Veterinary                                      509,787

Repairs & Maintenance
 Automation Werx, LLC                                 23,323
 Coastline                                             8,421
 Elevation Electric                                  141,370
 G.J. Verti-line Pumps, Inc.                           1,345
 Les Schwab Tire Center                                1,494
 Progressive Dairy Service and Supplies               59,255
 Schow’s Auto Parts                                    1,307
 Tacoma Screw Products, Inc.                             815
 The Dairy Solutions Group                            75,742

Fuel
 Conrad & Bischoff, Inc.                             153,779
 United Oil                                              593

Chemicals
 Rocky Mountain Agronomics                            55,236
 Clear Lakes Products                                133,158

Semen
 ABS Global, Inc.                                    187,563

Other
 Butte Irrigation Inc                                 45,242

Total                                              5,815,545
